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                                                              December 18, 2024

VIA ECF
Honorable Jessica G.L. Clarke
United States District Court
500 Pearl Street
New York, NY 10007


              Re:      Kane v. Combs et al., 23-cv-10628(JGLC)

Dear Judge Clarke:

        We write on behalf of Sean Combs, a defendant in the above captioned case.
Pursuant to paragraph 2(a) and 2(e) of Your Honor’s Individual Rules and Practices, the
undersigned counsel respectfully request a brief extension of the deadline for Mr. Combs
to answer or move against the Amended Complaint filed December 10, 2024 (ECF No.
74). In light of previously scheduled travel plans and deadlines in other matters, we
respectfully request that the deadline be extended from December 24, 2024, to January 7,
2025.

        This is Defendant Sean Combs’s first request for an extension of time to answer
the Amended Complaint. Plaintiff’s counsel consents to this request. No appearances
before the Court are currently scheduled.



                                                            Respectfully submitted,
                                                               /s/ Erica A. Wolff
                                                            Erica A. Wolff
                                                            Michael Tremonte




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